Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 1 of 26




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

  WORTH GROUP, INC., and

  ANDREW WILSHIRE,

         Petitioner,
                                                            CASE NO.
  vs.

  ROSALYN MORALES,

        Respondent.
  ____________________________________/

           WORTH GROUP INC.’S AND ANDREW WILSHIRE’S PETITION:
  (A) TO COMPEL ROSALYN MORALES TO SUBMIT HER ARBITRATION CLAIM TO
    JAMS IN PALM BEACH COUNTY, FLORIDA IN ACCORD WITH THE PARTIES’
                    WRITTEN ARBITRATION AGREEMENT; OR
   (B) TO APPOINT AN ARBITRATOR WITH THE QUALIFICATIONS SET FORTH IN
      THE PARTIES’ ARBITRATION AGREEMENT AND DIRECT THE PARTIES TO
             ARBITRATE IN ACCORD WITH THEIR AGREEMENT; AND
      IN EITHER CASE, TO STAY THE ARBITRATION PENDING IN CALIFORNIA

         Rosalyn Morales agreed that if she had a dispute with Worth Group, Inc. and Andrew

  Wilshire: (a) she would submit her claims to JAMS in Palm Beach County, Florida for

  arbitration; and (b) a retired Florida federal or state court judge would preside over the

  arbitration in Palm Beach County, Florida.               Ms. Morales breached this agreement by

  consolidating her claims against Worth Group and Mr. Wilshire into a pending JAMS arbitration

  in California where the arbitrator is not a retired Florida federal or state court judge.

         Under the circumstances, pursuant to the Federal Arbitration Act, 9 U.S.C. § 1 et seq.,

  Worth Group and Andrew Wilshire petition this Court to enjoin the California arbitration, and

  either: (a) compel Rosalyn Morales to submit her claim to JAMS in Palm Beach County, Florida

                         THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                       One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 2 of 26




  in accord with terms of the parties’ written arbitration agreement (so the parties can select an

  appropriate arbitrator and conduct the proceedings in Palm Beach County, Florida), or (b)

  appoint an appropriate arbitrator (a retired Florida federal or state court judge) and direct the

  parties to proceed under the arbitration agreement. In either case, Worth Group and Mr. Wilshire

  ask this Court to stay the arbitration proceedings pending in California.

  1.   Pursuant to a written contract, Rosalyn Morales obtained loans from Worth Group to

       finance her purchases of silver from another independent company, First National Bullion,

       LLC (“FNB”). Ms. Morales agreed to arbitrate any disputes with Worth Group or certain

       affiliated individuals (including Andrew Wilshire) only under specific conditions including:

               (i) She would submit any dispute to JAMS in Palm Beach County, Florida;

               (ii) The arbitrator would be a retired member of the Florida Circuit Court or
               a United States District Court in Florida;

               (iii) All arbitration proceedings would occur in Palm Beach County, Florida;
               and

               (iv) The Federal Arbitration Act and Florida law would govern.

  2.   Ms. Morales initially breached this agreement by failing to submit her claim to JAMS in

       Palm Beach County. Instead, (in a JAMS proceeding she originally submitted against FNB

       in California under an arbitration agreement she signed with FNB), Ms. Morales asked the

       arbitrator to add Worth Group as a party.

  3.   After completely ignoring the parties’ arbitration agreement, the arbitrator: (a) allowed Ms.

       Morales to amend her complaint, and (b) consolidated the pending FNB dispute and the

       Worth Group dispute. Next, the arbitrator, who is not a retired Florida federal or state

       judge, decided he will preside over the arbitration in California.

                                                   2
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 3 of 26




  4.   Given these rulings, Ms. Morales has continued to breach her arbitration agreement by

       refusing to arbitrate: (a) with a retired Florida federal or state court judge; and (b) in Palm

       Beach County, Florida.

  5.   As a result, unless this petition is granted, Worth Group will be forced to participate in an

       arbitration to which it never consented.          In particular, because Ms. Morales never

       submitted her claim before JAMS in Palm Beach County, Florida, she denied Worth Group

       the following rights under their arbitration agreement: (a) the ability to select an arbitrator

       through the JAMS rules (which would have allowed Worth to select from a list of

       appropriate candidates rather than being required to use a previously selected arbitrator);

       (b) to have an arbitrator who possesses the qualifications in the parties’ arbitration

       agreement; and (c) to conduct arbitration proceedings in Palm Beach County, Florida.

  6.   Under the circumstances, the Federal Arbitration Act grants this Court jurisdiction to

       enforce Ms. Morales’ arbitration agreement. The Court should enforce the agreement by

       enjoining the arbitration in California, and either: (a) order Ms. Morales to submit her

       claim to JAMS in Palm Beach County, Florida (so the parties can select an appropriate

       arbitrator and conduct the proceedings in Palm Beach County, Florida); or (b) appoint a

       retired Florida federal or state court judge to arbitrate the dispute under the parties’

       agreement. In either case, the Court should stay the California arbitration proceedings.

                                  Parties, Jurisdiction, and Venue

  7.   Petitioner Worth Group, Inc. is a Florida corporation whose principal place of business is

       Palm Beach County, Florida.



                                                  3
                      THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                    One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 4 of 26




  8.    Petitioner, Andrew Wilshire is a resident of Palm Beach County, Florida, and a citizen of

        Florida.

  9.    Respondent Rosalyn Morales is a resident of San Diego, California, and a citizen of

        California.

  10.   This Court has subject matter jurisdiction over this claim because Worth Group and Mr.

        Wilshire are both citizens of Florida and Ms. Morales is a citizen of California (i.e., the

        parties are from different states), and the amount in controversy exceeds $75,000.00

        exclusive of interest and costs. See 28 U.S.C. § 1332.

  11.   Venue is proper in this Court under section 4 of the FAA because the arbitration provision

        requires that any and all disputes and arbitration proceedings occur in Palm Beach County,

        Florida. See 9 U.S.C. § 4; Sterling Financial Group, Inc. v. Hammer, 393 F.3d 1223, 1225

        (11th Cir. 2004); Merrill Lynch, Pierce, Fenner & Smith v. Lauer, 49 F. 3d 323, 327 (7th

        Cir. 1995) (“where the arbitration agreement contains a forum selection clause, only the

        district court in that forum can issue a § 4 order compelling arbitration.”) (emphasis in

        original).

  12.   This Court has personal jurisdiction over Ms. Morales because she has “breach[ed] a

        contract in this state by failing to perform acts required by the contract to be performed in

        this state.” See Loan, Security and Storage Agreement between Worth Group and Ms.

        Morales, ¶ 34 (“You agree that for all purposes you have entered into this Agreement and

        the making of this Agreement has occurred in Palm Beach County, Florida,

        notwithstanding any events that may occur outside Palm Beach County, including the

        manner, timing or location of the delivery or receipt of the acceptance of this Agreement by

                                                    4
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 5 of 26




        any party hereto. You also agree that the following events, among others, occurred in Palm

        Beach County, Florida: the negotiation of this contract will have taken place and have been

        completed in Palm Beach County, Florida; the contract will be executed in Palm Beach

        County, Florida; WORTH is located in Palm Beach County, Florida; all deposits and

        payments made by [Ms. Morales] will be delivered to and paid in Palm Beach County,

        Florida; all loans made by WORTH will be made from and paid in Palm Beach County,

        Florida; and the written confirmation of each transaction and all statements of account will

        be generated in and transmitted from Palm Beach County, Florida.”).

  13.   In particular, Ms. Morales breached her agreement with Worth Group by refusing to

        “submit to final and binding arbitration before JAMS, or its successor, in Palm Beach

        County, Florida.” See Fla. Stat. 48.193(9); Loan, Security and Storage Agreement between

        Worth Group and Ms. Morales, ¶ 35(a).

                Ms. Morales Signs An Arbitration Agreement With Worth Group

  14.   Pursuant to a Purchase and Sale Agreement, Ms. Morales purchased silver from First

        National Bullion, LLC (the “FNB Agreement”). A copy of the Purchase and Sale

        Agreement is attached as Exhibit 1.

  15.   To finance her purchase, Ms. Morales borrowed money from Worth Group, a separate and

        independent company from FNB.           To govern her relationship with Worth Group, Ms.

        Morales signed a Loan, Security and Storage Agreement which set forth the terms of her

        loans and the storage of her precious metals (“The Worth Agreement”). A copy of the

        Worth Agreement is attached as Exhibit 2.



                                                   5
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 6 of 26




  16.   The Worth Agreement includes an arbitration provision which identifies specific

        requirements for resolving disputes between Ms. Morales and Worth Group (including Mr.

        Wilshire as Worth Group’s shareholder). The agreement requires: (1) the parties to submit

        any dispute with JAMS in Palm Beach County, Florida; (2) that all proceedings occur in

        Palm Beach County, Florida; (3) that all arbitrators be retired judges from Florida Circuit

        Court or a U.S. District Court in Florida; and (4) that Florida law and the Federal

        Arbitration Act govern the proceedings. The relevant portions of the Worth Agreement

        say:

               Arbitration of Claims. The parties agree that any and all disputes, claims or
               controversies arising out of or relating to any transaction between or among
               them or to the breach, termination, enforcement, interpretation, validity or
               alleged unconscionability of any part of this Agreement shall be subject to and
               governed by the Federal Arbitration Act and shall be submitted to final and
               binding arbitration before JAMS, or its successor, in Palm Beach County,
               Florida.

               Additional Participants in this Agreement to Arbitrate. All shareholders,
               officers and directors of WORTH, and all employees, representatives, agents
               and affiliates of WORTH, past present or future, are beneficiaries of, and
               participants in, this arbitration agreement. They will have the same rights and
               obligations under this arbitration agreement as the parties, to the extent that
               these arbitration agreement beneficiaries are named as respondents. In any
               dispute, claim or controversy subject to or arising from this Agreement, or
               could have been so named.

               You and WORTH agree that Palm Beach County, Florida is a mutually
               and reasonably convenient place for any arbitration hearing concerning
               disputes relating to your transactions with WORTH or to this Agreement
               and that all arbitration proceedings subject to this Agreement shall occur
               before the Judicial Arbitration and Mediation Society (“JAMS”) in Palm
               Beach County, Florida.

               Arbitrators. The parties agree that a single arbitrator shall be selected to
               adjudicate all disputes unless otherwise provided for in this Agreement. The
               selection and replacement of an arbitrator or arbitrators shall be in accordance
                                                     6
                         THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                       One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 7 of 26




             with the JAMS Rules, except that: (i) each arbitrator shall be a retired judge of
             either the Florida Circuit Court or a United States District Court located in
             Florida, and (ii) any party may require a panel of three neutral arbitrators.

             Arbitration Rules and Fees. Except as otherwise provided herein, the
             arbitration shall be conducted in accordance with the provisions of JAMS
             Comprehensive Arbitration Rules and Procedures in effect at the time of the
             Borrower’s execution of this Agreement.”

  Exhibit 2, pg. 6-7, ¶ 35 (emphasis in original).

                 Ms. Morales Breaches The Arbitration Agreement With Worth

  17.   In May 2021, Ms. Morales filed a Statement of Claim with the JAMS office in Los

        Angeles, California and requested the location of any hearing to be San Diego, California.

        In this Statement of Claim, Mr. Morales named as respondents: First National Bullion,

        Jonathan Cavuoto, Mark Gonzalez, Celestino Rabbini, and 100 John Does.

  18.   In July 2021, Hon. Franz E. Miller (a retired judge from the Orange County, California

        Superior Court) became the arbitrator for the FNB matter.

  19.   In May 2022, instead of submitting a claim against Worth Group before JAMS in Palm

        Beach County, Florida, Ms. Morales filed a First Amended Statement of Claims with the

        Los Angeles office of JAMS and requested leave to include Worth Group and Andrew

        Wilshire as respondents. In this way, Ms Morales breached the Worth Agreement because

        she did not submit her claim against Worth Group to JAMS in Palm Beach County, Florida.

                        The Arbitrator Ignored the Arbitration Agreement

  20.   When it learned of the proposed amendment, Worth Group filed a letter with the arbitrator

        to object. Initially, Worth Group explained Ms. Morales’ arbitration agreement required




                                                   7
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 8 of 26




        her to submit her claim to JAMS in Palm Beach County, Florida, and for the proceedings to

        occur in Palm Beach County, Florida. The objection says:

             Ms. Morales’ arbitration agreement with Worth Group and Mr. Wilshire
             requires her to submit her claim to JAMS in Palm Beach, Florida, and for the
             proceedings to occur in Palm Beach, Florida.

             Specifically, in the Worth Group contract attached as Exhibit 13 to the
             Statement of Claim, Ms. Morales agreed that “any and all disputes, claims or
             controversies arising out of or relating to any transaction between or among
             them or to the breach, termination, enforcement, interpretation, validity or
             alleged unconscionability of any part of this Agreement shall be subject to and
             governed by the Federal Arbitration Act, and shall be submitted to final and
             binding arbitration before JAMS, or its successor, in Palm Beach County,
             Florida.” See Exhibit 13, ¶ 35(a) (emphasis added).

             Ms. Morales also agreed that “all proceedings subject to this Agreement shall
             occur before the Judicial Arbitration and Mediation Society (“JAMS”) in
             Palm Beach County, Florida.” See Exhibit 13, ¶ 34.

             Given these explicit terms, Ms. Morales must submit to the Florida JAMS
             office her claim against Worth Group and Mr. Wilshire (who has the same
             arbitration rights as Worth Group by virtue of paragraph 35(b)). The Florida
             JAMS office can appoint an arbitrator to resolve her claim in Palm Beach.
             Florida.

  A copy of the objection is attached as Exhibit 3.

  21.   After a telephonic conference (during which counsel for Worth Group and Mr. Wilshire

        specially appeared solely to object to being included in this arbitration), the arbitrator

        determined it was appropriate to allow Ms. Morales’ amendment. The arbitrator further

        ordered: “After service has been effectuated, the New Respondents shall, within 15 days

        after service, file and serve a formal response and/or formal objections to the amended

        claim, including any jurisdictional and/or venue arguments… .” A copy of the Order is

        attached as Exhibit 4.


                                                   8
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 9 of 26




  22.   After the amendment, Worth Group filed a motion to dismiss the arbitration.             In this

        submission, a reply, and during a hearing on the matter, Worth Group explained Ms.

        Morales was breaching her arbitration agreement which required her to: submit her

        Statement of Claim to JAMS in Palm Beach County, Florida; to arbitrate only before a

        “retired judge of either the Florida Circuit Court or a United States District Court located in

        Florida… .”; and to arbitrate only in Palm Beach County, Florida.

  23.   The arbitrator denied the motion to dismiss. As an initial matter, the arbitrator ignored the

        undisputed fact that Worth Group and Ms. Morales specifically agreed to appoint a retired

        Florida federal or state judge as their arbitrator. Next, the arbitrator determined that Worth

        Group would have to arbitrate its dispute with Ms. Morales in California— again, in direct

        violation of the Worth Agreement.

  24.   The arbitrator wrote that “the motions are premised in part on the fallacious notion that the

        location of the arbitration hearing claimant seeks is jurisdictional. It is not.” The arbitrator

        also wrote both parties agreed JAMS would officiate their arbitration, so the only issue

        presented was whether Ms. Morales would have to arbitrate in two states over the same

        transaction. Further, the arbitrator wrote the JAMS rules allow an arbitrator to consolidate

        multiple arbitrations and then determine the location of the arbitration and override the

        parties’ right to designate an arbitrator. The arbitrator wrote:

            The parties also appear to agree the FNB agreement specifies disputes will be
            arbitrated by a JAMS arbitrator in California, and the moving parties'
            agreement specifies disputes will be arbitrated by a retired judge-JAMS
            arbitrator in Florida.




                                                    9
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 10 of 26




            Thus, both agreements specify any arbitration will be handled by JAMS. Thus,
            the issue boils down to whether Morales must endure to arbitration in two
            states regarding the same transaction.

            The arbitrator previously consolidated the two arbitration proceedings. JAMS
            Comprehensive Arbitration Rules & Procedures, rule 6(e)(iii) provides in
            relevant part:

            “Where a Demand or Demands for Arbitration is or are submitted naming
            Parties that are not identical to the Parties in the existing Arbitration or
            Arbitrations, JAMS may decide that the new case or cases shall be
            consolidated into one or more of the pending proceedings and referred to one
            of the Arbitrators or panels of Arbitrators already appointed ....

            “Unless applicable law provides otherwise, where JAMS decides to
            consolidate a proceeding into a pending Arbitration, the Parties to the
            consolidated case or cases will be deemed to have waived their right to
            designate an Arbitrator as well as any contractual provision with respect to the
            site of the Arbitration.”

            In this matter, all of the parties agree via their arbitration agreements that any
            arbitration would be handled by JAMS. In doing so, they agreed, at least
            implicitly, to be bound by rule 6.

            Moreover, JAMS rule 19 give the arbitrator the power, after consulting with
            the parties (which the arbitrator has done via this motion to dismiss), to
            “determine the date, time and location of the Hearing.”

            Copy of the Order is attached as Exhibit 5.

  25.   The arbitrator’s ruling ignored and failed to interpret the Worth Agreement in multiple

        ways.

  26.   First, even though the arbitrator noted the Worth Agreement and the FNB Agreement were

        separate contracts, he completely ignored the Worth Agreement. The arbitrator enforced

        the FNB arbitration agreement against Worth Group. In this way, the arbitrator ignored and

        failed to interpret the Worth Agreement in its entirety.



                                                   10
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 11 of 26




  27.   Second, the arbitrator (a retired California judge) determined he could serve as arbitrator

        because the Worth Agreement “specifies disputes will be arbitrated by a retired judge-

        JAMS arbitrator in Florida.” In fact, the Worth Agreement requires “each arbitrator shall

        be a retired judge of either the Florida Circuit Court or a United States District Court

        located in Florida.” In this way, the arbitrator again ignored and failed to interpret the

        Worth Agreement’s express terms.

  28.   Third, the arbitrator never addressed the Worth Agreement’s requirement that all of Ms.

        Morales’ claims be “submitted to final and binding arbitration before JAMS, or its

        successor, in Palm Beach County, Florida. Once again, the arbitrator ignored and failed to

        interpret the Worth Agreement’s express terms.

  29.   Fourth, the arbitrator ordered that the arbitration hearing will proceed in California with

        some or all witnesses to appear by Zoom. In this way, the arbitrator again ignored and

        failed to interpret the Worth Agreement’s express terms.

  30.   Fifth, the arbitrator justified ignoring the parties’ arbitration agreement based on the JAMS

        Rules 6 and 19.      According to the arbitrator, these rules allowed him to consolidate

        arbitrations (after consulting with the parties), and with the consolidation complete, the

        parties are deemed to have waived their “right to designate an arbitrator as well as any

        contractual provision with respect to the site of the arbitration.”

  31.   In this way, the arbitrator again entirely ignored the parties’ agreement. Specifically, Ms.

        Morales agreed the Worth Agreement’s provisions would override any JAMS rules if there

        was a conflict. The Worth Agreement says: “Except as otherwise provided herein, the

        arbitration shall be conducted in accordance with the provisions of JAMS Comprehensive

                                                    11
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 12 of 26




        Arbitration Rules and Procedures in effect at the time of the Borrower’s execution of this

        Agreement.” Exhibit 2, pg. 6, ¶ 35(d).

  32.   The arbitrator also ignored and failed to interpret the specific provision of the Worth

        Agreement that overrides the JAMS rules regarding the arbitrator’s qualifications. Ms.

        Morales agreed: “The selection and replacement of an arbitrator or arbitrators shall be in

        accordance with the JAMS rules, except that: (i) each arbitrator shall be a retired judge of

        either the Florida Circuit Court or a United States District Court located in Florida.”

        Exhibit 2, pg. 6, ¶ 35(e).

  33.   In addition to ignoring and failing to interpret the Worth Agreement, the arbitrator ignored

        and failed to interpret the JAMS rules themselves. First, JAMS Rule 6 does not allow the

        arbitrator to consolidate cases (and by doing so override any agreement regarding the

        selection of the arbitrator and venue) unless the consolidation is consistent with the parties’

        agreement and the applicable law. See JAMS Rule 6(e) (“Unless the Parties' Agreement

        or applicable law provides otherwise, JAMS, if it determines that the Arbitrations so filed

        have common issues of fact or law, may consolidate Arbitrations in the following

        instances:… .”) (emphasis added). In this case, the Worth Agreement requires a retired

        Florida federal or state judge to arbitrate and arbitration in Palm Beach, Florida. For these

        reasons, consolidation is inconsistent with the parties’ arbitration agreement. Again, the

        arbitrator ignored and failed to interpret these provisions.

  34.   Second, the arbitrator ignored and failed to interpret JAMS Rule 2. This rule requires that

        the parties’ arbitration agreement prevails when there is any conflict with the JAMS rules.

        JAMS Rule 2 says:

                                                   12
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 13 of 26




             The Parties may agree on any procedures not specified herein or in lieu of
             these Rules that are consistent with the applicable law and JAMS policies
             (including, without limitation, Rules 15(i), 30 and 31). The Parties shall
             promptly notify JAMS of any such Party-agreed procedures and shall confirm
             such procedures in writing. The Party-agreed procedures shall be enforceable
             as if contained in these Rules.

  35.   Worth Group notified the arbitrator of the submission, arbitrator qualification, and venue

        provisions in the Worth Agreement. The arbitrator subsequently ignored and refused to

        interpret these provisions.

  36.   Along these lines, the arbitrator ignored and failed to interpret JAMS Rule 4 which

        requires the arbitrator to follow the applicable law when the rules conflict with the

        applicable law. JAMS Rule 4 says: “If any of these Rules, or modification of these Rules

        agreed to by the Parties, is determined to be in conflict with a provision of applicable law,

        the provision of law will govern over the Rule in conflict, and no other Rule will be

        affected.”

  37.   In short, the arbitrator has utterly ignored and failed to interpret the Worth Group

        Agreement. He has also placed himself as arbitrator even though he did not follow the

        parties’ agreed selection process, and he does not meet the parties’ specified qualifications.

        By doing so, the arbitrator violated the FAA’s express provisions.

                          The Federal Arbitration Act Requires this Court
                           to Enforce the Parties’ Arbitration Agreement

  38.   The FAA grants district courts jurisdiction to enforce the terms of arbitration contracts. See,

        e.g., AT&T Technologies, Inc. v. Communications Workers of America, 475 U.S. 643,

        648-49 (1986). Section 4 of the FAA provides:



                                                   13
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 14 of 26




             A party aggrieved by the alleged failure, neglect, or refusal of another to
             arbitrate under a written agreement for arbitration may petition any United
             States district court … for an order directing that such arbitration proceed in
             the manner provided for in such agreement… . The court shall hear the
             parties, and upon being satis ed that the making of the agreement for
             arbitration or the failure to comply therewith is not in issue, the court shall
             make an order directing the parties to proceed to arbitration in accordance
             with the terms of the agreement. The hearing and proceedings, under such
             agreement, shall be within the district in which the petition for an order
             directing such arbitration is led.

  9 U.S.C. § 4.

  39.   Further, when parties fail to abide by other provisions in their arbitration agreements,

        district courts may stay an inappropriate arbitration proceeding and order the parties to

        proceed in accord with their agreement. Sterling Financial Investment Group, Inc. v.

        Hammer, 393 F. 3d 1223, 1226 (11th Cir. 2004) (“The district court properly exercised its

        jurisdiction pursuant to section 4 of the Federal Arbitration Act in staying arbitration in

        Houston, Texas and compelling arbitration in Boca Raton, Florida.”).

           The Court Should Enforce the Parties’ Arbitration Agreement by Either:
  (a) Ordering Ms. Morales to Submit her Claim to JAMS in Palm Beach County, Florida; or
   (b) Appointing a Retired Florida Federal or State Judge to Conduct the Arbitration Under
                          JAMS Rules in Palm Beach County, Florida.

  40.   Given these circumstances, the Court should enforce the Worth Agreement by either: (a)

        ordering Ms. Morales to submit her claim to JAMS in Palm Beach County, Florida and

        have the parties proceed as they agreed; or (b) appoint a retired Florida federal or state

        court judge to resolve the dispute in Palm Beach County, Florida under the provisions of

        the Worth Agreement.




                                                         14
                              THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                            One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
                  fi
                       fi
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 15 of 26




                                            Arbitration Law

  41.   Under the FAA and Florida law, an arbitrator’s jurisdiction derives from the parties’

        arbitration agreement, and the agreement circumscribes the jurisdiction. See City of Miami

        v. Ortiz, 317 So. 3d is 249, 252 (Fla. 3d D.C.A. 2022) (“An arbitrator's authority to conduct

        an arbitration and the issues to be arbitrated are granted and limited by the operative

        documents in question or by agreement of the parties themselves.”); Szuts v. Dean Witter

        Reynolds, Inc., 931 F.2d 830, 831 (11th Cir. 1991) (“The power and authority of the

        arbitrators in an arbitration proceeding is dependent on the provisions of the arbitration

        agreement under which the arbitrators were appointed.”).

  42.   Because arbitration provisions are contractual obligations, courts must review these

        provisions and the contracts in general as a matter of contract interpretation. Seaboard

        Coast Line Railroad Company v. The Trailer Train Company, 690 F.2d 1343, 1348 (11th

        Cir. 1982); Regency Group, Inc. v. McDaniels, 647 So. 2d 192, 193 (Fla. 1st D.C.A. 1994).

        No party may be forced to submit a dispute to arbitration unless the parties agreed and

        intended to arbitrate. See Seaboard C. L. R. Co. v. Trailer Train Co., 690 F. 2d 1343, 1352

        (11th Cir. 1982) (holding that the federal policy favoring arbitration “cannot serve to

        stretch a contract beyond the scope originally intended by the parties”). See also Seifert v.

        United States Home Corp., 750 So. 2d 633, 636 (Fla. 1999).

  43.   Arbitrators simply have no power to exceed their authority. See Laquer v. Falcone, 165 So.

        3d 19, 22 (Fla. 3d D.C.A. 2019) (“One of the grounds upon which a court must vacate an

        arbitration award is when ‘the arbitrators … in the course of her or his jurisdiction

        exceeded their powers.’”); Fla. Stat. §682.13(1)(d); Szuts v. Dean Witter Reynolds, Inc.,

                                                  15
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 16 of 26




        931 F.2d 830, 832 (11th Cir. 1991) (“Because the arbitrators violated the provisions of the

        arbitration agreement requiring arbitration before at least three arbitrators, they exceeded

        their authority under the arbitration agreement. So, we vacate the award of the panel… .”)

                       This Court Should Enforce The Parties’ Agreement
                              Regarding Selecting the Arbitrator

  44.   Given these general principles and the FAA in particular, the Court should enforce the

        Worth Agreement’s provisions regarding the selection and qualifications of the arbitrator.

  45.   Section 5 of the FAA requires parties to honor their arbitration agreements regarding the

        method for naming and appointing an arbitrator. Moreover, if a party fails to follow the

        agreed method for selecting the arbitrator and the counter party requests, the district court

        must designate an arbitrator in accord with the parties’ agreement. Section 5 says:

             If in the agreement provision be made for a method of naming or
             appointing an arbitrator or arbitrators or an umpire, such method shall
             be followed; but if no method be provided therein, or if a method be
             provided and any party thereto shall fail to avail himself of such method,
             or if for any other reason there shall be a lapse in the naming of an arbitrator
             or arbitrators or umpire, or in filling a vacancy, then upon the application of
             either party to the controversy the court shall designate and appoint an
             arbitrator or arbitrators or umpire, as the case may require, who shall
             act under the said agreement with the same force and effect as if he or
             they had been specifically named therein; and unless otherwise provided in
             the agreement the arbitration shall be by a single arbitrator.

  9 U.S.C. § 5 (emphasis added).

  46.   Szuts v. Dean Witter Reynolds, Inc., 931 F.2d 830, 832 (11th Cir. 1991), explains this point.

        Paul and Magda Szuts and Dean Witter agreed that three arbitrators would resolve any

        dispute they had.   They submitted their dispute to arbitration, but before the case was

        concluded, one of the arbitrators was disqualified and removed. As a result, only two


                                                  16
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 17 of 26




        arbitrators considered all of the evidence and rendered the award. The Eleventh Circuit

        Court of Appeals vacated the award.

  47.   Judge Edmondson explained “[t]he power and authority of the arbitrators in an arbitration

        proceeding is dependent on the provisions of the arbitration agreement under which the

        arbitrators were appointed.”      Consequently, federal courts have the power to vacate

        arbitrators’ awards “where the arbitrators exceed[ ] their powers.” Id. at 831; 9 U.S.C.

        §10(d). The Court held that failing to proceed with three arbitrators violated the arbitration

        agreement, left the arbitrators without jurisdiction, and rendered their award unenforceable.

        Judge Edmondson wrote:

        We think the provision of the arbitration agreement that “any arbitration hereunder
        shall be before at least three arbitrators” means what it says: any contract-related
        controversy between Szuts and Dean Witter must be arbitrated by no less than
        three arbitrators. The provision requires that at least three arbitrators participate in
        the arbitration by hearing all the evidence presented by the parties; by hearing the
        arguments presented by the parties; and by participating in the consultation and
        deliberation among the arbitrators on the decision of the controversy. These things
        did not happen here. The going forward of two arbitrators after a third arbitrator
        was removed from the panel thus violated the provision of the arbitration
        agreement that “any arbitration . . . shall be before at least three arbitrators.”

  Szuts, 931 F.2d at 831.

  48.   The Court vacated the award and remanded for a new arbitration before three arbitrators.

        Id. at 832 (“Because the arbitrators violated the provisions of the arbitration agreement

        requiring arbitration before at least three arbitrators, they exceeded their authority under

        the arbitration agreement.    So, we vacate the award of the panel, and remand for new

        arbitration proceedings before a panel of three new arbitrators.”) (internal citations

        omitted).


                                                  17
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 18 of 26




  49.   The same rule applies to this case. When Ms. Morales and Worth Group agreed to have a

        retired Florida federal or state judge resolve their dispute, they meant what they said.

        Consequently, the arbitrator does not have the qualifications set forth in the parties’

        agreement; the arbitrator does not have jurisdiction to proceed; and if he does proceed, any

        award will be unenforceable.

  50.   In this regard, Ms. Morales’ failure to file her case in Palm Beach County, Florida created

        another problem.     With a newly filed case, JAMS would have conducted the JAMS

        arbitrator selection process under JAMS Rule 15. The parties would have received a list of

        retired Florida federal and state judges, and Worth Group and Mr. Wilshire would have

        been able to exercise strikes against the proposed arbitrators.

  51.   Unless this Court intervenes, Worth Group and Mr. Wilshire will also be required to accept

        an arbitrator without proceeding through the JAMS arbitrator selection process (although

        Ms. Morales had the opportunity to participate in the arbitrator selection process). This

        situation violates the parties’ agreement which requires that “The selection and replacement

        of an arbitrator or arbitrators shall be in accordance with the JAMS Rules… .” See Cargill

        Rice, Inc. v. Empresa Nicaraguense Dealimentos Basicos, 25 F.3d 223 (4th Cir. 1994)

        (vacating an arbitration award when the arbitrators were not selected through the terms in

        the arbitration agreement); Avis Rent A Car Sys., Inc. v. Garage Emps. Union, Loc. 272,

        791 F.2d 22, 25 (2d Cir. 1986); (“An arbitrator may have the final say on certain issues that

        affect the power to enter an award, but an award will not be enforced if the arbitrator is not

        chosen in accordance with the method agreed to by the parties.”).



                                                  18
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 19 of 26




  52.   Because Ms. Morales refused and continues to refuse to proceed with an appropriate

        arbitrator selected in accord with the Worth Agreement, the Court should either order Ms.

        Morales to submit her claim to JAMS in Palm Beach County, Florida, or select a retired

        Florida federal or state court judge to conduct the arbitration in accord with the JAMS

        Rules. In the meantime, the Court should stay the arbitration proceedings in Los Angeles.

                        This Court Should Enforce The Parties’ Agreement
                                        Regarding Venue

  53.   In addition to breaching the agreement by seeking to arbitrate before an inappropriate

        arbitrator, Ms. Morales breached the arbitration agreement by arbitrating in the wrong

        venue.

  54.   Sterling Financial Investment Group, Inc. v. Hammer, 393 F. 3d 1223 (11th Cir. 2004),

        demonstrates how the Federal Arbitration Act requires enforcement of the Worth Group

        Agreement arbitration clause.

  55.   Bernard Hammer left his job in Texas to work for Sterling Financial in Florida. Hammer

        and Sterling Financial signed an employment agreement and a representative agreement

        which required them to arbitrate in Florida any disputes under the agreements.            The

        employment contract said: “The parties agree that any claim or controversy concerning the

        terms, conditions or application of this Agreement shall be subject to arbitration pursuant to

        the National Association of Securities Dealers, Inc. in Boca Raton, Florida.”             The

        representative agreement said: “Any disputes between the parties hereto shall be submitted

        to binding arbitration before the National Association of Securities Dealers with venue

        being in the State of Florida.” See id. at 1224.


                                                   19
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 20 of 26




  56.   Hammer’s and Sterling Financial’s relationship quickly deteriorated, and Hammer quit his

        job. He moved to Texas and initiated an arbitration before the National Association of

        Securities Dealers in Texas. In response, Sterling Financial asked the National Association

        of Securities Dealers to move the panel to Florida to comply with the arbitration

        agreements, but the National Association of Securities Dealers denied the request and

        assigned the case to a Texas panel.

  57.   Sterling Financial sued in federal court in Florida to stay the Texas arbitration and compel

        arbitration in Florida. Based on the arbitration agreement’s venue provisions, the district

        court entered the stay and compelled arbitration in Florida. The Eleventh Circuit affirmed.

  58.   Judge Cox began by noting that section 4 of the Federal Arbitration Act requires parties to

        honor the terms of their arbitration agreements, and grants the federal courts the power to

        enforce these terms by staying inappropriate arbitrations. Section 4 says:

             A party aggrieved by the alleged failure, neglect, or refusal of another to
             arbitrate under a written agreement for arbitration may petition any United
             States district court . . . for an order directing that such arbitration proceed in
             the manner provided for in such agreement. …. The court shall hear the
             parties, and upon being satisfied that the making of the agreement for
             arbitration or the failure to comply therewith is not in issue, the court shall
             make an order directing the parties to proceed to arbitration in accordance
             with the terms of the agreement. The hearing and proceedings, under such
             agreement, shall be within the district in which the petition for an order
             directing such arbitration is filed.

  59.   Given this rule, Judge Cox explained: “The district court properly exercised its jurisdiction

        pursuant to section 4 of the Federal Arbitration Act in staying arbitration in Houston, Texas

        and compelling arbitration in Boca Raton, Florida.” Id. at 1226.




                                                  20
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 21 of 26




  60.   A subsequent case, Bamberger Rosenheim, Ltd. v. OA Development Inc. (United States),

        862 F.3d 1284 (11th Cir. 2017), further illustrates how the arbitrator in this case

        disregarded the Worth Agreement’s venue clause.            In Bamberger, the venue provision

        allowed for arbitration in Atlanta or Tel Aviv depending upon the circumstances.          The

        arbitrator chose Atlanta, and the Eleventh Circuit affirmed. Critically, the Court explained

        the Bamberger arbitrator considered the relevant venue provision, and therefore the

        arbitrator’s decision would stand.

  61.   By contrast, Bamberger explains how the Sterling arbitrator failed to interpret the

        arbitration agreement.    Specifically, the Sterling arbitrator reviewed a clause that only

        provided for venue in Florida, but the Sterling arbitrator still allowed arbitration to proceed

        in Texas. As a result, the Court held the Sterling arbitrator could not have interpreted the

        contract because the Sterling arbitrator clearly disregarded an unambiguous venue

        provision: Judge Melloy wrote:

             In [Sterling], we simply held “that a federal district court … has jurisdiction
             to enforce a forum selection clause in a valid arbitration agreement that has
             been disregarded by the arbitrators.” Indeed, by allowing arbitration to
             proceed in Texas, the arbitrator in Sterling Financial clearly disregarded an
             unambiguous venue provision that only provided for arbitration in Florida.
             We did not hold that courts should review arbitral-venue provisions de novo;
             in Sterling Financial, it could not be said that the arbitrator even arguably
             interpreted the parties’ contract.

  Id. at 1288-89.

  62.   By disregarding the parties’ unambiguous venue provision, the arbitrator in this case has

        directly violated Sterling and Bamberger.




                                                  21
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 22 of 26




  63.   Ms. Morales and Worth Group agreed to arbitrate in one venue only: Palm Beach County,

        Florida. Consequently, when the arbitrator ordered the arbitration to occur in California, he

        ignored and failed to interpret: (a) the entire Worth Agreement (by applying the FNB

        Agreement to Worth Group), (b) specific provisions of the Worth Agreement (e.g., the

        requirement to submit the arbitration and conduct the arbitration in Palm Beach County,

        Florida, the requirement that the arbitrator be a retired Florida federal or state court judge,

        and the requirement that the Worth Agreement would prevail whenever it conflicted with

        the JAMS rules), and (c) the JAMS rules (which specifically indicate that the parties

        agreement and the applicable law will control if there is a conflict).

  64.   In instances like this, district courts have jurisdiction to enforce a forum selection clause in

        a valid arbitration agreement that has been disregarded by [an arbitrator].” See Sterling

        Financial Investment Group, Inc. v. Hammer, 393 F. 3d 1223, 1225 (11th Cir. 2004);

        Bamberger Rosenheim, Ltd. v. OA Development Inc. (United States), 862 F.3d 1284 (11th

        Cir. 2017).

  65.   For these reasons, the Court should either order Ms. Morales to submit her claim to JAMS

        in Palm Beach County, Florida, or select a retired Florida federal or state court judge to

        conduct the arbitration in accord with the JAMS rules. Either way, the Court should stay

        the arbitration proceedings in Los Angeles.

                       The JAMS Rules Cannot Change The Parties’ Agreement

  66.   Given the parties’ contract and the applicable law, it is also clear the arbitrator ignored and

        disregarded the Worth Agreement when ruling that the JAMS rules allow consolidation of



                                                   22
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 23 of 26




        the claims, and that the consolidation caused Worth Group to waive the arbitrator

        qualification and venue provisions of the Worth Agreement.

  67.   As the U.S. Supreme Court has explained, arbitration is “a creature of contract,” and the

        parties’ agreement sets the rules. See ATT Technologies v. Communications Workers of

        America, 475 U.S. 643 (1986). The Florida Supreme Court has similarly held: “because

        arbitration provisions are contractual in nature, construction of such provisions and the

        contracts in which they appear remains a matter of contract interpretation.” See Seifert v.

        United States Home Corp., 750 So. 2d 633, 636 (Fla. 1999). Moreover Florida law favors

        arbitration and requires enforcement of an arbitration agreement’s terms. See Healthcomp

        Evaluation Services Corp. v. O’Donnell, 817 So. 2d 1095, 1097 (Fla. 2nd D.C.A. 2002)

        (“Agreements to arbitrate are a favored means of dispute resolution. When there is an

        enforceable arbitration agreement, the court should require the terms to be followed.”)

  68.   The Worth Agreement says: “Except as otherwise provided herein, the arbitration shall be

        conducted in accordance with the provisions of JAMS Comprehensive Arbitration Rules

        and Procedures in effect at the time of the Borrower’s execution of this Agreement.”

        Exhibit 2, pg. 6, ¶ 35(d).

  69.   The Worth Agreement further contains a specific provision which overrides the JAMS

        rules regarding the arbitrator’s qualifications.       Ms. Morales agreed: “The selection and

        replacement of an arbitrator or arbitrators shall be in accordance with the JAMS rules,

        except that: (i) each arbitrator shall be a retired judge of either the Florida Circuit Court or

        a United States District Court located in Florida.” Exhibit 2, pg. 6, ¶ 35(e).



                                                   23
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 24 of 26




  70.   The arbitrator entirely ignored and failed to interpret these provisions of the Worth

        Agreement when applying the JAMS rules.

  71.   The arbitrator ignored the JAMS rules too.

  72.   While the JAMS rules allow for consolidation and for the arbitrator to set venue after

        consolidation, the rules specifically prohibit the arbitrator from contradicting the parties’

        arbitration agreement or the law.

  73.   First, JAMS Rule 2 allows parties to make agreements regarding how to conduct their

        arbitration, and Rule 2 requires that any procedures the parties set “shall be enforceable as

        if contained in these rules.”

  74.   Second, even the consolidation rules are subject to the parties’ arbitration agreement and

        the applicable laws. See JAMS Rule 6 (“Unless the Parties’ Agreement or applicable law

        provides otherwise, JAMS, if it determines that the Arbitrations so filed have common

        issues of fact or law, may consolidate Arbitrations in the following instances.”) (emphasis

        added); JAMS Rule 4 (“If any of these Rules, or modification of these Rules agreed to by

        the Parties, is determined to be in conflict with a provision of applicable law, the provision

        of law will govern over the Rule in conflict, and no other Rule will be affected.”).

  75.   Szuts v. Dean Witter Reynolds, Inc., 931 F.2d 830 (11th Cir. 1991), explains that an

        arbitrator may not elevate a set of arbitration rules over the parties’ arbitration agreement.

  76.   In Szuts, the American Arbitration Association rules allowed an arbitration to proceed with

        fewer than three arbitrators, but the parties agreement required three arbitrators. The Court

        held this AAA rule could not override the parties’ agreement requiring three arbitrators and

        vacated the award. Id. at 832 (“In this case, Dean Witter and Szuts adopted an arbitration

                                                   24
                        THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                      One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 25 of 26




        agreement that, while incorporating by reference the AAA Rules, also required arbitration

        before a panel of at least three arbitrators. We, thus, conclude that ‘the parties agree[d]

        otherwise,’ thus prohibiting the application of the going-forward provision of Rule 20.”).

  77.   Given Szuts, the arbitrator clearly ignored and failed to interpret the Worth Agreement and

        violated the FAA when he elevated the JAMS rules over the Worth Agreement.

  78.   In short, the parties agreed to arbitrate, to file, and to conduct any arbitration in Palm

        Beach County, Florida before a retired Florida federal or state court judge. Consolidating

        this case into the FNB case will violate all of these terms. Even if the JAMS rules allowed

        consolidation under these circumstances (and they do not), the JAMS rules cannot override

        the parties’ agreement.

  79.   For these reasons, the Court should either order Ms. Morales to submit her claim to JAMS

        in Palm Beach County, Florida, or select a retired Florida federal or state court judge to

        conduct the arbitration in accord with the JAMS rules. Either way, the Court should stay

        the arbitration proceedings in Los Angeles.

                                                   Conclusion

  80.   Ms. Morales breached her arbitration agreement by: (a) failing to submit her claims to

        JAMS in Palm Beach County, Florida; (b) insisting on proceeding with an arbitrator who is

        not a retired Florida federal or state court judge; and (c) insisting on arbitrating in

        California. The arbitrator has allowed this breach by ignoring and failing to interpret the

        parties’ arbitration agreement.

  81.   For all of the reasons above, the Court should enter an order enjoining the arbitration in

        Los Angeles, and (a) compelling Ms. Morales to submit her claim to JAMS in Palm Beach

                                                  25
                       THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                     One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
Case 9:22-cv-81372-AMC Document 1 Entered on FLSD Docket 09/06/2022 Page 26 of 26




       County, Florida; or (b) appointing a retired judge of either the Florida Circuit Court or a

       United States District Court located in Florida to resolve this dispute under the JAMS rules

       as modified by the Parties’ Agreement.          In the meantime, the Court should stay the

       arbitration proceedings in California.



  Dated: September 6, 2022

                                                      Respectfully submitted,


                                                      THE LAW OFFICE OF STEPHEN JAMES
                                                      BINHAK, P.L.L.C.
                                                      Counsel for Worth Group, Inc. and Andrew
                                                      Wilshire
                                                      One Southeast Third Ave., Suite 2600
                                                      Miami, Florida 33131
                                                      Telephone: (305) 361-5500

                                                      By:          /s/ Stephen James Binhak
                                                            Stephen James Binhak, Esq.
                                                            Florida Bar No. 0736491
                                                            binhaks@binhaklaw.com




                                                 26
                      THE LAW OFFICE OF STEPHEN JAMES BINHAK, P.L.L.C.,
                    One Southeast Third Ave., Suite 2600, Miami, FL Tel. (305) 361.5500
